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United States Courthouse
500 Pearl Street
New York, New York 10007

November 18, 2022

       Re:     Baliga v. Link Motion Inc. et al., 1:18-cv-11642 (S.D.N.Y.)

Dear Judge Marrero,

       We write on behalf of the Court-appointed temporary receiver for Link Motion Inc.,
Robert W. Seiden,(the “Receiver”) to request approval to file certain documents under seal for
the Court’s eyes only, pursuant to Federal Rules of Civil Procedure 5.2 and Your Honor’s
February 3, 2020 Individual Practices at § II(H).

        On November 18, 2022, we filed a Declaration from the Receiver and a memorandum of
law in support of the Receiver’s request for approval of the Receiver’s accounting. The
Declaration annexed redacted copies of attorney invoices related to the work of the Receivership
(the “Invoices”). We now write to respectfully request that this Court order the unredacted
Invoices be kept under seal.

        The Invoices contain attorney work product and detailed information protected under the
attorney-client privilege. See Varbero v. Belesis, No. 20-cv-2538 (LJL), 2020 WL 7043503, at
*2 (S.D.N.Y. Dec. 1, 2020) (“[C]orrespondence, bills, ledgers, statements, and time records
which also reveal the motive of the client in seeking representation, litigation strategy, or the
specific nature of the services provided, such as researching particular areas of law, fall within
the privilege.”) (citation omitted).

       We thank the Court for its consideration of this request.

                                             Respectfully submitted,


                                             /s/ Amiad Kushner
                                                 Amiad Kushner
